           Case 2:11-cr-00118-MCE Document 30 Filed 10/20/11 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   MICHAEL D. ANDERSON
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2755
 5

 6

 7                   IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,     )          CASE NO. 2:11-CR-00118
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )          STIPULATION TO CONTINUE
                                   )          BRIEFING SCHEDULE FOR THE
13   ANTONIO SANCHEZ-GAONA         )          GOVERNMENT’S OPPOSITION TO
                                   )          DEFENDANT’S MOTION TO SEVER
14                                 )          AND ORDER
                                   )
15                  Defendant.     )
     ______________________________)
16

17        The parties request that the date for the government’s
18   opposition to the defendant’s motion to sever in this case be
19   continued from October 17, 2011, to October 24, 2011.         The
20   defendant’s optional reply brief will be due on October 31, 2011,
21   and the hearing on the motion will remain scheduled for November
22   3, 2011, at 9:00 a.m.
23        The parties agree that good cause exists to grant this
24   motion.   Specifically, defense counsel believes that the motion
25   may be mooted by developments in the case and is conferring with
26   codefendants’ defense counsel and reviewing discovery and other
27   information pertaining to the motion to sever.        The government
28   concurs with defense counsel’s assessment.

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           Case 2:11-cr-00118-MCE Document 30 Filed 10/20/11 Page 2 of 2


 1   If the motion becomes moot or if an additional delay is deemed
 2   necessary, the parties will timely inform the Court.
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 4

 5                                           Respectfully Submitted,
 6                                           BENJAMIN B. WAGNER
                                             United States Attorney
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 8
     DATE: October 17, 2011           By:    /s/ Michael D. Anderson
 9                                           MICHAEL D. ANDERSON
                                             Assistant U.S. Attorney
10

11
     DATE: October 17, 2011                  /s/ Michael D. Anderson for
12                                           DOUGLAS BEEVERS
                                             Attorney for Defendant
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14        IT IS SO ORDERED.
15

16   Dated: October 19, 2011

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                                      _____________________________
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                                      MORRISON C. ENGLAND, JR.
19                                    UNITED STATES DISTRICT JUDGE

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